       Case 2:24-cr-00091-ODW         Document 170 Filed 11/15/24   Page 1 of 8 Page ID
                                              #:2111



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 9|
101| UNITED STATES DISTRICT COURT
^ ^ II CENTRAL DISTRICT OF CALIFORNIA

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13 I UNITED STATES OF AMERICA, ) CASE NO. 2:24-CR-00091-ODW
i4||                                     )
                         Plaintiff, ) DEFENDANT'S OPPOSITION TO
     I ) "FOURTH MOTION IN LIMINE
161 v. ) TO EXCLUDE ALLEGED
171| ) DEFECTS IN THE
     I ALEXANDER SMIRNOV, ) PROSECUTION" (ECF NO. 153)

191 ) Honorable Otis D. WrightII



21 || _)
201 Defendant. ) November 25,2024 at 10:00 a.m.



22
            Comes Now, Defendant Alexander Smirnov, by and through his counsel of
23
      record David Z. Chesnoff, Esq., and Richard A. Schonfeld, Esq., and hereby submits


25 || his Opposition to the Government's "Fourth Motion In Limine to Exclude Alleged

261 Defects in the Prosecution," filed November 1, 2024. See ECF No. 153 ("Gov.
27 I
28 I Mot")-
        Case 2:24-cr-00091-ODW     Document 170 Filed 11/15/24       Page 2 of 8 Page ID
                                           #:2112



 ^ This Opposition is made and based upon the papers and pleadings on file
 2
       herein, the attached Memorandum of Points and Authorities, and any argument that
 3
 41| is heard.

 5 || Dated this 1 5th day of November, 2024.
 6
                                           Respectfully Submitted:
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                                            CHESNOFF & SCHONFELD

 9 II /s/ David Z. Chesnoff
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        Case 2:24-cr-00091-ODW       Document 170 Filed 11/15/24       Page 3 of 8 Page ID
                                             #:2113



 11| MEMORANDUM OF POINTS AND AUTHORITIES
 2|
       A. Background and Statement


 41| The two-count indictment in the present case (ECF No. 1) charges Mr.

       Smirnov with: 1) Making False Statements to a Government Agent, in violation of
 6|
       18 U.S.C. § 1001; and 2) Falsification of Records in a Federal Investigation, in

 8 I violation of 18 U.S.C. § 1519. As alleged in the indictment, Mr. Smirnov served as

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       a confidential human source ("CHS") for the FBI for at least 10 years, from 2013
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       through October 2023. As shown from the discovery, the FBI reports documenting

121| Mr. Smimov's years of service to United States contain positive references and

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       commendations; they contain no evidence of him serving or aiding any foreign
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^ II government. Recognizing this, and seeking to convict Mr. Smimov at any price, the


I6 government is seeking to prevent Mr. Smimov from adducing any evidence (or

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       asking any questions) that might add up to a fair and honest trial defense.
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^ ]] In the present motion, the government seeks to preclude Mr. Smirnov from


20 "introducing evidence, argument, or questioning that suggests or otherwise implies

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       that the prosecution is politically motivated, that the government is selectively or
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^3 || vindictively prosecuting him, that government agents or prosecutors engaged in

241| outrageous government misconduct, that the prosecution of him is unlawful for any

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       reason, that the prosecution is costly or inappropriately funded, or that the
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271| prosecutors or agents are conflicted." Gov. Mot. at 2 (emphases added).

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        Case 2:24-cr-00091-ODW        Document 170 Filed 11/15/24        Page 4 of 8 Page ID
                                              #:2114



 11| Critically, this Court has no intention of letting Special Counsel pursue his
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       evidence-blocldng persecution of Mr. Smirnov. To the contrary, this Court made a
 3
 4 statement clearly indicating its intent to protect Mr. Smirnov's right to a fair trial:

     I] [N]othing—we 're going to do absolutely nothing to interfere with your
 5 ability to mount a vigorous defense, and if there are documents that will
             enable you to do that, then, by all means, you're entitled to those things,
 7 || absolutely entitled.
 8
       United States v. Smirnov (No. 2:24-CR-00091-ODW), Hear. Tr. (Sep. 9, 2024) at 22
 9|
101| (emphases added).

             Mr. Smirnov relies on this Court's reassurance to counterbalance the
12
       prosecution's desire to convict him not just by restricting—but by completely


141| gutting—his right to present a full and fair defense at trial. See, e.g., Sherman v.


15 || Gittere, 92 F.4th 868, 878-79 (9th Cir. 2024) ("The constitutional right to 'a
16|
       meaningful opportunity to present a complete defense' is rooted in both the Due

18 I] Process Clause and the Sixth Amendment. [Crane v. Kentucky, 476 U.S. 683, 690]

19 || (1986) (quoting [California v. Trombetta, 467 U.S. 479, 485] (1984); see Chambers
20 I
       v. Mississippi, 410 U.S. 284, 294 (1973).... Washington v. Texas, 388 U.S. 14, 19


221[ (1967) ("The [Sixth Amendment] right to offer the testimony of witnesses, and to

       compel their attendance, if necessary, is in plain terms the right to present a defense,
24 I
       the right to present the defendant's version of the facts as -well as the prosecution's


26 to the jury so it may decide where the truth lies.'1'1) (emphases added).



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        Case 2:24-cr-00091-ODW         Document 170 Filed 11/15/24         Page 5 of 8 Page ID
                                               #:2115



 11 B. Evidence and Inquiry Into the FBI'S Conduct, Bias, and Record-Keepins
 ^ I Are Relevant to Mr. Smirnov's Defense


 3 Mr. Smirnov intends, as part of his defense, to introduce relevant evidence

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       that his FBI handler often failed to competently document his (Mr. Smirnov's)
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 5 ]| communications and reports. As argued in another opposition to yet another one of


 71| the government's motions (ECF No. 152), Mr. Smirnov will adduce evidence in the
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       form of (among other things) the numerous specific acts of Mr. Smimov
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101| communicating with his Handler (and assisting the government), with no

11 corresponding record of the same. Such evidence impeaches the quality of the law
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       enforcement conduct in this case, which goes to the heart of Mr. Smirnov's defense:
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141| 1) that his Handler's shoddy work involved repeatedly failing to follow appropriate

       procedures; and 2) that this obvious negligence is consistent with the lack of record
16 I
       keeping regarding Defendant's disclosure related to Burisma, as claimed in the

18 I Indictment. See, e.g., Bowen v. Maynard, 799 F.2d 593, 613 (10th Cir. 1986) ("A

       common trial tactic of defense lawyers is to discredit the caliber of the investigation
20
^ ^or^
     the decision to charge the defendant, and we may consider such use in assessing
       .^ ^^^ ^ ^.^ ^ ^^^,
221 a possible 5m^ violation"); Lindsey v. King, 769 F.2d 1034, 1042 (5th Cir. 1985)

       (new trial granted to prisoner convicted in state court where withheld Brady evidence
24 I
       "carried within it the potential . . . for the ... discrediting . . . of the police methods


261| employed in assembling the case"); ); United States v. Sager, 227 F.3d 1138, 1145

271 (9th Cir.2000) (quoting Kyles ); United States v. Sager, 227 F.3d 1138, 1145 (9th
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                                                    5
        Case 2:24-cr-00091-ODW       Document 170 Filed 11/15/24      Page 6 of 8 Page ID
                                             #:2116



 11 Cir.2000) (quoting Kylesv. ^7z^/^, 514 U.S. 419 (1995) and referring to "the utility
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       of attacking police investigations as 'shoddy'").
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 41| To the extent the government (in its present motion) seeks to preclude specific

 5 || incidents of good conduct or incidents of sloppy record-keeping by labeling such
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       evidence "outrageous government misconduct" or evidence of an "unlawful"
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 g prosecution (Gov. Mlot. at 2), then this Court should reject such efforts based on the

 91| precedent and this Court's own assurance that "absolutely nothing" will "interfere
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       with [Mr. Smimov's] ability to mount a vigorous defense[.]" Hear. Tr. (Sep. 9, 2024)

12 I at 22; 5ee afco United States v. Ofray-Campos, 534 F.3d 1, 36 (1st Cir. 2008)

       ("Under the Confrontation Clause, a defendant has the right to cross-examine the
14 I
       government's witness about his bias against the defendant and his motive for


16 || testifying") (citing Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986)).

       C. Conclusion
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^ ]] For the foregoing reasons, Mr. Smirnov respectfully requests that this Court

201| deny ECF No. 153; rule that the evidence (and inquiry) discussed above is highly
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       probative of Mr. Smirnov's trial defense and not "substantially outweighed" by any
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        Case 2:24-cr-00091-ODW       Document 170 Filed 11/15/24         Page 7 of 8 Page ID
                                             #:2117



 11| of Fed. R. Evid. 403's risks and dangers; and allow Mr. Smirnov to put on the trial
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       defense to which he is constitutionally entitled.
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 41| DATED this 1 5th day of November, 2024.

                                               Respectfully Submitted:
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        Case 2:24-cr-00091-ODW      Document 170 Filed 11/15/24       Page 8 of 8 Page ID
                                            #:2118


 1
 21| CERTIFICATE OF SERVICE

 3
             I hereby certify that on this 15th day of November, 2024,1 caused the forgoing
 41
 5     document to be filed electronically with the Clerk of the Court through the CM/ECF

 6 [| system for filing; and served on counsel of record via the Court's CM/ECF system.
 7|
                                       /s/ Camie Linnell
                                       Employee ofChesnoff& Schonfeld
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